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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF NEW YORK

In re:                                                   Chapter 11

PURDUE PHARMA L.P., et al.,                              Case No. 19-23649 (RDD)

                 Debtors.1                               (Joint Administration Pending)


                        VERIFIED STATEMENT OF STEVENS & LEE, P.C.
                           PURSUANT TO BANKRUPTCY RULE 2019

         Pursuant to Federal Rule of Bankruptcy Procedure 2019, Stevens & Lee, P.C. (“S&L”)

makes the following representations on its own behalf and on behalf of the lawyers and law firms

identified below with whom S&L is associated in these bankruptcy cases (“Cocounsel”):

         1.      S&L and its Cocounsel represent the following persons in their respective individual

and putative capacities as proposed representatives of classes of privately insured parties who are

plaintiffs and proposed class representatives in their individual and representative capacities in suits

brought against Debtor-Defendant Purdue Pharma Inc. (together with its affiliate Debtors,

“Purdue”) and other affiliated and non-affiliated defendants, as set forth below (and with the class

members, collectively, the “Class Claimants”) in their 25 respective actions in the 25 states




1
 The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal Technologies
L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034), Imbrium Therapeutics
L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven Seas Hill Corp. (4591), Ophir
Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140), Purdue Pharmaceutical Products
L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc. (7805), Button Land L.P. (7502),
Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584), Rhodes Pharmaceuticals L.P. (6166),
Rhodes Technologies (7143), UDF L.P. (0495), SVC Pharma L.P. (5717) and SVC Pharma Inc. (4014). The Debtors’
corporate headquarters is located at One Stamford Forum, 201 Tresser Boulevard, Stamford, CT 06901.



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identified below (the “Class Actions”), all of which have been and remain stayed in connection with

In re National Prescription Opiate Litigation, No. 1:17-md-2804 (N.D. Ohio) (the “MDL”) :

       Ronald D. Stracener, F. Kirk Hopkins, Jordan Chu, Amel Eiland, Nadja Streiter, Michael
       Konig, Eli Medina, Barbara Rivers, Marketing Services of Indiana, Inc., Glenn Golden,
       Gretta Golden, Michael Christy, Edward Grace, Debra Dawsey, Darcy Sherman, Kimberly
       Brand, Lou Sardella, Michael Klodzinski, Kevin Wilk, Heather Enders, Jason Reynolds,
       MSI Corporation, Deborah Green-Kuchta, W. Andrew Fox, Dora Lawrence, Michael Lopez,
       and Zachary R. Schneider.
        2.      Plaintiff Ronald D. Stracener seeks to hold Purdue accountable for the economic

 harm it has imposed on Alabama purchasers of private health insurance, in the action Stracener v.

 Purdue Pharma, L.P., et. al., No. 19-cv-86 (S.D. Ala.).

        3.      Plaintiff F. Kirk Hopkins seeks to hold Purdue accountable for the economic harm it

 has imposed on Arizona purchasers of private health insurance, in the action Hopkins v. Purdue

 Pharma, L.P., et. al., No. 18-cv-2646 (D. Ariz).

        4.      Plaintiff Jordan Chu seeks to hold Purdue accountable for the economic harm it has

 imposed on California purchasers of private health insurance, in the action Chu v. Purdue

 Pharma, L.P., et. al., No. 18-cv-2576 (N.D. Cal.).

        5.      Plaintiff Amel Eiland seeks to hold Purdue accountable for the economic harm it has

 imposed on Colorado purchasers of private health insurance, in the action Eiland v. Purdue

 Pharma, L.P., et. al., No. 18-cv-46283 (D. Colo.).

        6.      Plaintiff Nadja Streiter seeks to hold Purdue accountable for the economic harm it

 has imposed on Connecticut purchasers of private health insurance, in the action Streiter v.

 Purdue Pharma, L.P., et. al., No. 18-cv-1425 (D. Conn.).

        7.      Plaintiff Michael Konig seeks to hold Purdue accountable for the economic harm it

 has imposed on Florida purchasers of private health insurance, in the action Konig v. Purdue

 Pharma, L.P., et. al., No. 18-cv-61960 (S.D. Fla.).

        8.      Plaintiff Eli Medina seeks to hold Purdue accountable for the economic harm it has

 imposed on Idaho purchasers of private health insurance, in the action Medina v. Purdue Pharma,

 L.P., et. al., No. 18-cv-369 (D. Idaho).


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        9.      Plaintiff Barbara Rivers seeks to hold Purdue accountable for the economic harm it

 has imposed on Illinois purchasers of private health insurance, in the action Rivers v. Purdue

 Pharma, L.P., et. al., No. 18-cv-3116 (N.D. Ill.).

        10.     Plaintiff Marketing Services of Indiana, Inc. seeks to hold Purdue accountable for the

 economic harm it has imposed on Indiana purchasers of private health insurance, in the action

 Marketing Services of Indiana, Inc. v. Purdue Pharma, L.P., et. al., No. 18-cv-2778 (S.D. Ind.).

        11.     Plaintiffs Glenn Golden, Gretta Golden and Michael Christy seek to hold Purdue

 accountable for the economic harm it has imposed on Louisiana purchasers of private health

 insurance, in the action Golden et. al. v. Purdue Pharma, L.P., et. al., No. 19-cv-1048 (E.D. La.).

        12.     Plaintiff Edward Grace seeks to hold Purdue accountable for the economic harm it

 has imposed on Massachusetts purchasers of private health insurance, in the action Grace v.

 Purdue Pharma, L.P., et. al., No. 18-cv-10857 (D. Mass.).

        13.     Plaintiff Deborah Dawsey seeks to hold Purdue accountable for the economic harm it

 has imposed on Michigan purchasers of private health insurance, in the action Dawsey v. Purdue

 Pharma, L.P., et. al., No. 19-cv-94 (W.D. Mich.).

        14.     Plaintiff Darcy Sherman seeks to hold Purdue accountable for the economic harm it

 has imposed on Minnesota purchasers of private health insurance, in the action Sherman v. Purdue

 Pharma, L.P., et. al., No. 18-cv-3335 (D. Minn.).

        15.     Plaintiff Kimberly Brand seeks to hold Purdue accountable for the economic harm it

 has imposed on Missouri purchasers of private health insurance, in the action Brand v. Purdue

 Pharma, L.P., et. al., No. 18-cv-653 (W.D. Mo.).

        16.     Plaintiff Lou Sardella seeks to hold Purdue accountable for the economic harm it has

 imposed on New Jersey purchasers of private health insurance, in the action Sardella v. Purdue

 Pharma, L.P., et. al., No. 18-cv-8706 (D.N.J.).

        17.     Plaintiff Michael Klodzinski seeks to hold Purdue accountable for the economic

 harm it has imposed on New York purchasers of private health insurance, in the action Klodzinski

 v. Purdue Pharma, L.P., et. al., No. 18-cv-3927 (S.D.N.Y.).

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        18.     Plaintiff Kevin Wilk seeks to hold Purdue accountable for the economic harm it has

 imposed on North Carolina purchasers of private health insurance, in the action Wilk v. Purdue

 Pharma, L.P., et. al., No. 18-cv-181 (E.D.N.C.).

        19.     Plaintiff Heather Enders seeks to hold Purdue accountable for the economic harm it

 has imposed on Ohio purchasers of private health insurance, in the action Enders v. Purdue

 Pharma, L.P., et. al., No. 19-cv-448 (S.D. Ohio).

        20.     Plaintiff Jason Reynolds seeks to hold Purdue accountable for the economic harm it

 has imposed on Oregon purchasers of private health insurance, in the action Reynolds v. Purdue

 Pharma, L.P., et. al., No. 18-cv-1911 (D. Or.).

        21.     Plaintiff MSI Corporation seeks to hold Purdue accountable for the economic harm it

 has imposed on Pennsylvania purchasers of private health insurance, in the action MSI Corp. v.

 Purdue Pharma, L.P., et. al., No. 18-cv-1109 (W.D. Pa.).

        22.     Plaintiff Deborah Green-Kuchta seeks to hold Purdue accountable for the economic

 harm it has imposed on South Dakota purchasers of private health insurance, in the action Green-

 Kuchta v. Purdue Pharma, L.P., et. al., No. 18-cv-4132 (D.S.D.).

        23.     Plaintiff W. Andrew Fox seeks to hold Purdue accountable for the economic harm it

 has imposed on Tennessee purchasers of private health insurance, in the action Fox v. Purdue

 Pharma, L.P., et. al., No. 18-cv-194 (E.D. Tenn.).

        24.     Plaintiff Dora Lawrence seeks to hold Purdue accountable for the economic harm it

 has imposed on Texas purchasers of private health insurance, in the action Lawrence v. Purdue

 Pharma, L.P., et. al., No. 18-cv-2889 (S.D. Tex.).

        25.     Plaintiff Michael Lopez seeks to hold Purdue accountable for the economic harm it

 has imposed on Utah purchasers of private health insurance, in the action Lopez v. Purdue

 Pharma, L.P., et. al., No. 18-cv-719 (D. Utah).
       26. Plaintiff Zachary R. Schneider seeks to hold Purdue accountable for the economic

 harm it has imposed on Wisconsin purchasers of private health insurance, in the action Schneider

 v. Purdue Pharma, L.P., et. al., No. 19-cv-611 (E.D. Wis.).

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         27.    None of these plaintiffs has any “disclosable economic interest” other than as

 disclosed in the preceding paragraphs.

         28.    Other than as disclosed herein, S&L does not currently represent or claim to

 represent any other entity with respect to the Debtors’ cases, and does not hold any claim against

 or interest in the Debtors or their estates.

         29.    Certain of the Cocounsel do represent other entities in actions also currently stayed

 in connection with the MDL. They and the parties they represent are identified in the attached

 Exhibit A.

         30.    The undersigned hereby certifies that this verified statement is true and accurate to

 the best of his knowledge, information and belief, and subject to the penalties for perjury provided

 for in 28 U.S.C. § 1746. S&L reserves its right to revise, amend and/or supplement this verified

 statement as may be necessary or appropriate. This statement is provided without prejudice to the

 right of S&L and its clients to file any further statements, claims, adversary complaints,

 documents, notices or pleadings in these chapter 11 cases.

 Dated: September 16, 2019.                     Respectfully submitted,

                                                /s/ Nicholas F. Kajon
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                                          Tel: 813.223.5505

                                          *Pro Hac Vice admission to be sought

                                          Attorneys for Ronald D. Stracener, F. Kirk Hopkins,
                                          Jordan Chu, Amel Eiland, Nadja Streiter, Michael
                                          Konig, Eli Medina, Barbara Rivers, Marketing
                                          Services of Indiana, Inc., Glenn Golden, Gretta
                                          Golden, Michael Christy, Edward Grace, Debra
                                          Dawsey, Darcy Sherman, Kimberly Brand, Lou
                                          Sardella, Michael Klodzinski, Kevin Wilk, Heather
                                          Enders, Jason Reynolds, MSI Corporation, Deborah
                                          Green-Kuchta, W. Andrew Fox, Dora Lawrence,
                                          Michael Lopez, Zachary R. Schneider, and the Putative
                                          Classes




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                                        CERTIFICATE OF SERVICE

                The undersigned certifies that on September 16, 2019, he caused a true copy of the

       foregoing Notice of Appearance and Demand for Service of Notices and Pleadings to be served

       electronically upon all parties in interest registered to receive notice through the Court’s

       CM/ECF System.

                                                             /s/ Nicholas F. Kajon

                                                             Nicholas F. Kajon




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                                                  Exhibit A

                                              Cocounsel Actions

       Morgan & Morgan has filed the following action:

       Martin v. Purdue Therapeutics, Inc., CV 2018-013354 (Maricopa County).

       Morgan & Morgan has filed actions against either or both Purdue Pharma, Inc. and Purdue
       Therapeutics, Inc. on behalf of the following:

       Oklahoma
       The County Commission of Mayes County
       The County Commission of Rogers County
       The County Commission of Nowata County
       The County Commission of Creek County
       The County Commission of Washington County
       The County Commission of Okmulgee County

       Kansas:
       The County Commission of Crawford County
       The County Commission of Neosho County

       West Virginia:
       Town of Kermit
       City of Welch
       Town of West Hamlin
       McDowell County
       Clay County
       Lincoln County
       Mercer County
       Town of Chapmanville
       Mingo County
       Town of Chapmanville
       Town of Hamlin
       City of Williamson
       Town of Gilbert:

       Missouri:
       City of Springfield




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       Florida:
       City of Deerfield Beach
       City of Hallandale Beach
       City of Pembroke Pines
       City of Miramar
       City of Lauderhill
       City of Ft. Lauderdale
       Monroe County




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